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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                              NO. 19-cr-00113

VERSUS                                                JUDGE SUSIE MORGAN

MARTHA BUEZO MARTINEZ                                 MAG. JUDGE MICHAEL NORTH


                                       ORDER

      CONSIDERING THE FOREGOING Motion and Memorandum in Support:

      IT IS HEREBY ORDERED that Defendant, MARTHA BUEZO MARTINEZ’S Motion

for Downward Departure and Variance in the above captioned matter be GRANTED.



      NEW ORLEANS, LOUISIANA, this _______ day of ________________, 2021.




                                               ____________________________________
                                               HONORABLE SUSIE MORGAN
                                               UNITED STATES DISTRICT COURT
